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 4   Telephone: (916) 554-2767
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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )   CR. No. 06-256 GEB
                                    )
12                    Plaintiff,    )   Stipulation and Proposed Order
                                    )   Continuing Matter for Further
13               v.                 )   Proceedings
                                    )
14   SUKRAJAN MANN,                 )
                                    )
15                    Defendant.    )
                                    )
16                                  )
                                    )
17
18
19          It is hereby agreed and stipulated by the United States,
20   through its undersigned counsel, and by defendant Sukrajan Mann,
21   through his counsel Gregory Foster, that the status conference
22   scheduled for Friday, January 12, 2007, should be VACATED and
23   CONTINUED approximately four weeks until February 9, 2007 at 9:00
24   a.m.    The continuance is necessary to allow defense counsel
25   sufficient time to meet with and advise defendant Mann whether to
26   accept the plea offer of the United States.          Counsel for
27   defendant Mann currently is scheduled to be in trial for the next
28   several weeks, so his schedule requires an extended continuance
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 1   of this matter.    The parties further agree and stipulate that
 2   time should be excluded under the Speedy Trial Act due to needs
 3   of counsel to prepare [local code T4] up to and including
 4   February 9, 2007.
 5         Accordingly, defendant Franklin and the United States agree
 6   and stipulate that the preliminary hearing should be continued
 7   until 9:00 a.m. on Friday, February 9, 2007.         Defendant Franklin
 8   and the United States agree and stipulate that the needs of
 9   counsel to evaluate the plea offer and advise his client exceed
10   the needs of the public for a trial within 70 days, so that the
11   interests of justice warrants a further exclusion of time.
12         Counsel for defendant Mann advised the undersigned counsel
13   for the United States via email on January 9, 2007 that he would
14   be out of town for a funeral until Thursday January 11th, and
15   asked me to prepare and sign a stipulation and proposed order to
16   the effect of the foregoing for him.
17   Dated: January 11, 2007
18                                           McGREGOR W. SCOTT
                                             United States Attorney
19
20                                      By: /S/ Robert Twiss_______
                                            ROBERT M. TWISS
21                                          Assistant U.S. Attorney
22   Dated: January 11, 2007
23                                            SUKRAJAN MANN
                                              Defendant
24
25                                      By: /S/_RMT for Gregory Foster
                                            GREGORY FOSTER
26                                          Counsel for Defendant
27   ///
28   ///

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 1                            ORDER
 2        It is so ORDERED.       The status conference currently scheduled
 3   for January 12, 2007, is VACATED and CONTINUED until February 9,
 4   2007 at 9:00 pm.      Time is excluded under the Speedy Trial Act
 5   until February 9, 2007 due to the needs of counsel to prepare
 6   [Local code T4].      I also find that the needs of counsel to
 7   evaluate the plea offer and advise his client exceed the needs of
 8   the public for a trial within 70 days, so that the interests of
 9   justice warrants a further exclusion of time.
10   Dated:    January 12, 2007
11
12                                    GARLAND E. BURRELL, JR.
13                                    United States District Judge

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